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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                               Case No. 3:15cr62/MCR

CHRISTOPHER WILLIAM KNIGHT

                                       /

                    ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, and subject to this Court’s
consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of
guilty of the Defendant, CHRISTOPHER WILLIAM KNIGHT, to Counts I and II of
the Indictment is hereby ACCEPTED. All parties shall appear before this Court for
sentencing as directed.
      DONE and ORDERED this 23rd day of November, 2015.



                                s/   M. Casey Rodgers
                               M. CASEY RODGERS
                               CHIEF UNITED STATES DISTRICT JUDGE
